               If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                    revision until final publication in the Michigan Appeals Reports.




                             STATE OF MICHIGAN

                              COURT OF APPEALS


AMY HJERSTEDT,                                                       FOR PUBLICATION
                                                                     August 22, 2024
                 Plaintiff-Appellant,                                9:30 a.m.

v                                                                    No. 358803
                                                                     Chippewa Circuit Court
CITY OF SAULT STE. MARIE,                                            LC No. 20-016126-CZ

                 Defendant-Appellee.


                                              ON REMAND

Before: PATEL, P.J., and BORRELLO and SHAPIRO, JJ.

PATEL, P.J.

        This case returns to us on remand from the Supreme Court to determine whether the City
of Sault Ste. Marie Police Department’s use-of-force policy is subject to disclosure under the
Michigan Freedom of Information Act (FOIA), MCL 15.231 et seq., or whether the policy reveals
the contents of law enforcement staff manuals and thus is exempt from disclosure under MCL
15.243(1)(s)(vi). Previously, this Court held that the unredacted policy was not exempt from
disclosure under MCL 15.243(1)(n) (because the policy did not contain a record of law
enforcement communication codes or plans for deployment), MCL 15.243(1)(s)(v) (because the
policy did not disclose law enforcement operational instructions), and MCL 15.243(1)(s)(vii)
(because disclosure would not endanger the safety of law enforcement officers). Hjerstedt v City
of Sault Ste Marie, 345 Mich App 573, 577, 594; 7 NW3d 102, rev’d in part, app den in part 513
Mich 925; 997 NW2d 451 (2023) (Hjerstedt I). However, because the trial court did not analyze
MCL 15.243(1)(s)(vi) or rely on it in reaching its decision, this Court did not analyze whether the
staff manual exemption applied to the city’s use-of-force policy. Id. at 594 n 7.

      On December 1, 2023, the Supreme Court denied the city’s request to review our holding;
however, in lieu of granting leave to appeal, the Court reversed Footnote 71 of our opinion and


1
    Footnote 7 of our prior opinion stated:



                                                 -1-
remanded the case to us with further instructions to remand the case to the trial court for
consideration of whether the staff manual exemption in MCL 15.243(1)(s)(vi) applied to the city’s
use-of-force policy. Hjerstedt v City of Sault Ste Marie, 513 Mich 925; 997 NW2d 451 (2023)
(Hjerstedt II). On remand, the trial court held that the staff manual exemption applies and prevents
the unredacted disclosure of the city’s use-of-force policy under FOIA.

       We find that the trial court erred by concluding that the unredacted policy was exempt from
disclosure under MCL 15.243(s)(vi). Accordingly, we reverse the court’s grant of the city’s
motion for summary disposition under MCR 2.116(C)(10) and remand for further proceedings.

                                 I. FACTUAL BACKGROUND

       George Floyd’s death in May 2020 ignited a mass movement of citizens advocating for
systemic change in law enforcement use-of-force procedures across the country. Weeks after
Floyd’s death, plaintiff, Amy Hjerstedt, requested a copy of the city’s use-of-force policy under
FOIA. Our prior opinion set forth the background to this case:

              On June 25, 2020, Hjerstedt submitted a FOIA request to the city seeking
       the “Sault Police use of force policy/standard.” The city denied Hjerstedt’s request,
       claiming that the policy was exempt from disclosure under MCL 15.243(1)(n)
       because “it would prejudice the city’s ability to protect the public safety.” Hjerstedt
       appealed the denial, asserting that MCL 15.243(1)(n) was misinterpreted because
       the use-of-force policy “does not include deployment plans or communication
       codes.” The appeal was submitted to the city commission for consideration.

              The city’s staff, including the city attorney and city manager, provided the
       city commission with an analysis and a recommendation to disclose the use-of-
       force policy with redactions. The staff maintained that the policy was part of the
       “general orders and policies for various basic operations” of the police department
       and included

               information, which if made public, would inform individuals with
               criminal threat intent or resistance when and how an officer would
               use his or her training and the limitations therein in order to
               eliminate the threat or overcome the resistance presented. This
               information would allow the opportunity for a subject to overpower




       The city also claims that the redacted material is exempt from disclosure under
       MCL 15.243(1)(s)(vi). But the trial court clearly rejected this argument because it
       only found that the material was exempt from disclosure under MCL 15.243(1)(n),
       (s)(v), and (s)(vii), and the city did not file a cross-appeal. Notwithstanding, we
       find no merit in the city’s argument. [Hjerstedt I, 345 Mich App at 594 n 7.]




                                                -2-
       an officer’s efforts to eliminate the threat or resistance, placing the
       officer and/or innocent citizen in jeopardy of severe injury or death.

The staff contended that the policy was exempt from disclosure because it (1) was
an investigating record that would endanger the safety of law enforcement officers
if disclosed, MCL 15.243(1)(b)(vi); (2) was a record of law enforcement
communication codes or plans for deployment, MCL 15.243(1)(n); (3) disclosed
law enforcement operational instructions, MCL 15.243(s)(v); (4) revealed the
contents of law enforcement staff manuals, MCL 15.243(s)(vi); and (5) would
endanger the safety of law enforcement officers if disclosed, MCL 15.243(s)(vii).
But “given the social climate around Force of Use [sic] policies,” the staff
recommended releasing information that would not place the officers’ safety in
jeopardy. The city commission voted to release a redacted version of the policy.
Hjerstedt received a heavily redacted copy of the policy.

         Hjerstedt initiated this FOIA action challenging the decision. The city
moved for summary disposition pursuant to MCR 2.116(C)(7) and (10), arguing
that the redacted information was exempt from disclosure under MCL 15.243(1)(n),
(s)(v), (s)(vi), and (s)(vii) and necessary “for the public and/or officer safety.” The
city relied on affidavits from the city’s current and former police chiefs who
claimed that the disclosure of the information

       would or could impact safety of the public and/or officers because
       it would inform individuals with criminal intent or those who resist
       know [sic] when and how an officer would use his or her training to
       respond and the limitations posed in order to eliminate the threat or
       to overcome the resistance presented.

       7. The information if disclosed would or could impact safety of the
       public and/or officers because it would inform individuals with
       criminal intent or those who resist also know the factors that are
       important for the officer to consider in making a decision how to
       respond.

       8. Armed with this information a potential suspect could circumvent
       the officer’s actions thus placing both the suspect and officer in
       danger.

       In response, Hjerstedt requested judgment as a matter of law under MCR
2.116(I)(2). She also filed a cross-motion for summary disposition pursuant to
MCR 2.116(C)(9) and (10). She described the police chiefs’ affidavits as “con-
clusory,” “self-serving opinions” that did not actually “address the purported
exemptions.” She relied on unredacted use-of-force policies from the Michigan
State Police, Department of Homeland Security, Michigan Association of Chiefs of
Police, Lake County Sheriff Department, and Newaygo County Sheriff’s
Department that were available to the public online. Hjerstedt posited that the other
departments’ unredacted policies were nearly identical to the unredacted portions


                                         -3-
       of the city’s policy. Because anyone could access unredacted copies of the other
       departments’ policies, she asserted that the city’s argument that disclosure of an
       unredacted copy of its policy would arm persons with information to circumvent
       officers’ actions was meritless. Hjerstedt argued that the exemptions claimed by
       the city were inapplicable and that the public’s interest warranted disclosure.

               The city’s police chief, Wesley Bierling, testified that he believed the
       redactions were necessary to protect the safety of officers and the public. Chief
       Bierling was not the city’s police chief at the time that the redactions were made,
       and he was not the decision maker with regard to Hjerstedt’s FOIA request. But he
       maintained that he would have made the same redactions. Consistent with his
       affidavit, Chief Bierling testified that the redacted information “could or would
       impact the safety of [the] officers and [the] public” because it could provide in-
       formation on how the officers “may use force, may consider using force, or may
       react to certain situations, and what they would use in their decision-making
       process.” He was not concerned about what other municipalities did with their
       policies, stating that it was “not an apples-to-apples comparison.” He testified that
       when he makes a decision to redact public records, he “always err[s] on the side of
       caution” in order to ensure officer safety.

                In addition to the evidence and testimony presented by the parties, the trial
       court reviewed an unredacted copy of the city’s use-of-force policy in camera. The
       court found that the redacted portion of the policy involved “tactics and techniques
       or operational guidelines and according to the affidavit of former City Police Chief,
       John Riley, disclosure of the information would impact the public and/or officer
       safety because it would use his or her training to respond and the limitations posed
       in order to eliminate the threat or to overcome the resistance presented.” The court
       noted that the former chief’s decision was supported by Chief Bierling. The court
       found “that the [d]isclosure of the unredacted Use of Force Policy would or could
       in fact impact the officer’s [sic] ability to protect the public and/or themselves. The
       safety of the Sault Ste. Marie Police Officers’ safety [sic] is paramount and
       consequently the public interest is outweighed in the disclosure of said policy.”
       The trial court granted the city’s motion for summary disposition and dismissed
       Hjerstedt’s complaint, concluding that the city’s decision to redact the policy fit
       within the exemptions set forth in MCL 15.243(1)(n), (s)(v), and (s)(vii). . . .
       [Hjerstedt I, 345 Mich App 578–82 (alternations in original) (footnotes omitted).].


        On appeal, this Court reversed the trial court, and held that the city’s use-of-force policy
was not exempt from disclosure under MCL 15.243(1)(n), (s)(v), and (s)(vii). Id. at 577, 594. The
Supreme Court denied the city’s application for leave to appeal the substantive portions of this
Court’s judgment analyzing each exemption, but the Court reversed Footnote 7 of our opinion and
remanded the case to us with further instructions to remand the case to the trial court for
consideration of whether the staff manual exemption in MCL 15.243(1)(s)(vi) applied to the city’s
use-of-force policy. Hjerstedt II, 513 Mich at 925.




                                                -4-
        This Court remanded the case to the trial court with instructions to consider whether the
staff manual exemption in MCL 15.243(1)(s)(vi) applies.2 On remand, the court held that the staff
manual exemption applies and precludes unredacted disclosure of the policy, reasoning:

               The specific exemption at issue here pertains to tactical strategies of law
       enforcement and set forth in MCL 15.243(1)(s)(vi). MCL 15.243(1)(s)(vi) provides
       that public records of a law enforcement agency may be withheld when they:

              Reveal the contents of staff manuals provided for law enforcement
              officers or agents; MCL 15.243(1)(s)(vi)[.]

               In this case, pursuant to a meeting of the Commission and upon
       recommendation of City Police staff, the City produced a redacted copy of the City
       Police Department’s Use of Force Policy. The portion redacted deals with tactics
       and techniques or operational guidelines and according to the affidavit of former
       City Police Chief, John Riley, disclosure of the information would impact the
       public and/or officer safety because it would use his or her training to respond and
       the limitations posed in order to eliminate the threat or to overcome the resistance
       presented. As newly hired City Police Chief Wesley Bierling testified, he supports
       the decision. Chief Bierling indicates that the disclosure of this information poses
       a threat of injury to both the suspect and the officer. Further testifying that if
       withholding of the information would or could save one life or one injury it is worth
       the public’s interest in nondisclosure.

               In addition to the foregoing, in interpreting the specific wording of
       exemption MCL 15.243(1)(s)(vi), the Court needs to assess whether the disclosure
       of the public record (in this case public records pertaining to “Sault Police use of
       force policy /standard”) would reveal the “contents” of “staff manuals” provided
       for law enforcement officers or agents. It is clear in this case that the redacted
       portions of the Policy are in fact “contents” of a “staff manual” provided for the
       law enforcement officers. A Police “staff manual” can certainly be described as a
       book or set of policies (i.e. “contents”) that tell the law enforcement officers how
       to do something and as such, the Policy in this case certainly falls within that
       exemption at least as to the common place use of terms used therein. Such being
       the case, the matter rests with whether the public interest is outweighed in the
       nondisclosure of the Policy.

               After careful review of the Policy and the plain language of the statute,
       together with the testimony of the former and current Chiefs of Police that
       disclosure would or could in fact impact the officer’s ability to protect the public
       and/or themselves, the Use of Force Policy qualifies for the staff manual exemption
       of MCL 15.243(1)(s)(vi). As such, the City’s decision to provide Plaintiff with a



2
 Hjerstedt v City of Sault Ste Marie, unpublished order of the Court of Appeals, entered January
25, 2024 (Docket No. 358803).


                                               -5-
       redacted copy of the policy is supported by law and fits within the exemption set
       forth in MCL 15.243(1)(s)(vi), specifically.

        This Court permitted the parties and amici American Civil Liberties Union and the
Michigan Press Association to file supplemental briefs after remand. 3 The matter is now back
before this Court for further review.

                                 II. STANDARD OF REVIEW

       The applicable standard was articulated in our prior opinion:

               “We review de novo a trial court’s decision on a motion for summary
       disposition.” El-Khalil v Oakwood Healthcare, Inc, 504 Mich 152, 159; 934 NW2d
       665 (2019). In this case, the trial court did not expressly indicate whether it granted
       the city’s motion under MCR 2.116(C)(7) or (10), but because it considered
       affidavits and testimony beyond the pleadings, we can fairly surmise that the
       motion was granted under MCR 2.116(C)(10). Cuddington v United Health Servs,
       Inc, 298 Mich App 264, 270, 826 NW2d 519 (2012). A motion for summary
       disposition pursuant to MCR 2.116(C)(10) tests the factual sufficiency of the
       complaint. Woodring v Phoenix Ins Co, 325 Mich App 108, 113; 923 NW2d 607       (2018). We consider all evidence submitted by the parties in the light most
       favorable to the non-moving party. El-Khalil, 504 Mich at 160. Summary
       disposition under MCR 2.116(C)(10) is only appropriate when there is no genuine
       issue of material fact. Id. “A genuine issue of material fact exists when the record,
       giving the benefit of reasonable doubt to the opposing party, leaves open an issue
       upon which reasonable minds might differ.” Zaher v Miotke, 300 Mich App 132,
       139-140; 832 NW2d 266 (2013).

              The interpretation and application of a statute is a question of law that we
       review de novo. Boyle v Gen Motors Corp, 468 Mich 226, 229; 661 NW2d 557       (2003). We likewise review “de novo whether the trial court properly interpreted
       and applied the FOIA.” Mich Open Carry, Inc v Dep’t of State Police, 330 Mich
       App 614, 621; 950 NW2d 484 (2019). The court’s factual findings underlying its
       application of FOIA are reviewed for clear error. Id. “Clear error exists only when
       the appellate court is left with [the] definite and firm conviction that a mistake has
       been made.” Herald Com Inc v Eastern Mich Univ Bd of Regents, 475 Mich 463,
       471; 719 NW2d 19 (2006) (quotation marks and citation omitted). “[C]ertain FOIA
       provisions require the trial court to balance competing interests.” Id. at 470. When
       we review “a decision committed to the trial court’s discretion, such as the
       balancing test at issue in [FOIA] case[s], we “must review the discretionary
       determination for an abuse of discretion and cannot disturb the trial court’s decision



3
 Hjerstedt v City of Sault Ste Marie, unpublished order of the Court of Appeals, entered April 1,
2024 (Docket No. 358803); Hjerstedt v City of Sault Ste Marie, unpublished order of the Court of
Appeals, entered April 24, 2024 (Docket No. 358803).


                                                -6-
       unless it falls outside the principled range of outcomes.” Id. at 472. [Hjerstedt I,
       345 Mich App at 582–83.]

                                          III. ANALYSIS

       Hjerstedt argues that the trial court erred in holding that the staff manual exemption under
MCL 15.243(1)(s)(vi) applies and prevents disclosure of the unredacted use-of-force policy. We
agree.

        Michigan has a strong public policy favoring public access to government information and
grants the public an opportunity to “examine and review the workings of government and its
executive officials.” Messenger v Ingham Co Prosecutor, 232 Mich App 633, 641; 591 NW2d
393 (1998). Consistent with this policy, FOIA commands that persons “are entitled to full and
complete information regarding the affairs of government and the official acts of those who
represent them as public officials and public employees . . . so that they may fully participate in
the democratic process.” MCL 15.231(2). Although certain information may be exempt from
disclosure, the exemptions stated in § 13 are not intended to shield public bodies from the
transparency that FOIA was designed to foster. “On its express terms, the FOIA is a prodisclosure
statute, and the exemptions stated in § 13 are narrowly construed.” Herald Co v Bay City, 463
Mich 111, 119; 614 NW2d 873 (2000). See also Sole v Michigan Economic Development Corp,
509 Mich 406, 413; 983 NW2d 733 (2022); Mager v Dep’t of State Police, 460 Mich 134, 143;
595 NW2d 142 (1999); Swickard v Wayne Co Med Examiner, 438 Mich 536, 544; 475 NW2d 304(1991).

        The public body has the burden of proving the applicability of any statutory exemption that
it claims applies to a FOIA request. Detroit Free Press, Inc v Southfield, 269 Mich App 275, 281;
713 NW2d 28 (2005). “To meet this burden, the public body claiming an exemption should
provide complete particularized justification, rather than simply repeat statutory language.”
Detroit Free Press v Warren, 250 Mich App 164, 167; 645 NW2d 71 (2002).

        On remand, the trial court concluded, without any detailed analysis, that the redacted
material was exempted from disclosure under MCL 15.243(1)(s)(vi), which exempts “the contents
of staff manuals provided for law enforcement officers or agents” from disclosure “[u]nless the
public interest in disclosure outweighs the public interest in nondisclosure in the particular
instance[.]” The trial court reasoned:

       It is clear in this case that the redacted portions of the Policy are in fact “contents”
       of a “staff manual” provided for the law enforcement officers. A Police “staff
       manual” can certainly be described as a book or set of policies (i.e. “contents”) that
       tell the law enforcement officers how to do something and as such, the Policy in
       this case certainly falls within that exemption at least as to the common place use
       of terms used therein.

        FOIA does not define “staff manuals,” and there is no caselaw interpreting this
subparagraph. Thus, resolution of this issue requires us to interpret this statutory exemption. “The
principal goal of statutory interpretation is to give effect to the Legislature’s intent, and the most
reliable evidence of that intent is the plain language of the statute.” South Dearborn Environmental



                                                 -7-
Improvement Ass’n, Inc v Dep’t of Environmental Quality, 502 Mich 349, 360-361; 917 NW2d
603 (2018). When determining the meaning of a statute’s plain language, we examine “the statute
as a whole, reading individual words and phrases in the context of the entire legislative scheme.”
Kemp v Farm Bureau Gen Ins Co of Mich, 500 Mich 245, 252; 901 NW2d 534 (2017). “Where
the statutory language is unambiguous, the plain meaning reflects the Legislature’s intent and the
statute must be applied as written.” Honigman Miller Schwartz &amp; Cohn LLP v City of Detroit,
505 Mich 284, 294; 952 NW2d 358 (2020) (cleaned up). Further, FOIA’s exemptions “must be
narrowly construed to serve the policy of open access to public records.” Mich Open Carry, 330
Mich App at 625.

        We do not quibble with the trial court’s definition of a staff manual. Indeed, the common
understanding of a staff manual can be described as a book or compendium of policies given to
staff (e.g., law enforcement officers), informing them about workplace expectations and
instructions on how to conduct business. The term “staff manual” thus could plausibly be read as
being synonymous with an employee handbook. Such handbooks routinely contain workplace
policies, such as antidiscrimination policies, sexual harassment policies, workplace leave policies,
and, in the specific context of law enforcement agencies, use-of-force policies.

         However, there is no evidence in the record that the city’s use-of-force policy is contained
in a staff manual or handbook that was disseminated to law enforcement officers. Rather, it is part
of a standing general order that was issued on June 18, 2013. The policy is titled, “General Order”
and simply states “13-02 Use of Force” in the upper right corner of the first page. There was no
evidence that this stand-alone order was part of an employee handbook or “staff manual.” In fact,
no staff manual was presented to the trial court during the evidentiary hearing. The only evidence
that the city presented to establish that the policy was a “staff manual” was Chief Bierling’s
conclusory statement that he considered it to be a staff manual without any further explanation.
As the party asserting the exemption, the city has the burden of establishing its applicability.
Detroit Free Press, Inc, 269 Mich App at 281.

        We conclude that the term “staff manual” was intended to be used synonymously with
terms such as “employee handbook” and be limited to tools provided to employees to outline terms
of employment, internal employment-related procedures, and, at times, workplace policies. The
city’s use-of-force policy is contained in a stand-alone general order that does not fit within this
definition and thus was not exempt from disclosure under subparagraph (s)(vi). Because we find
that the redacted portions of the use-of-force policy are not part of a staff manual, it is unnecessary
for us to consider the balancing test set forth in MCL 15.243(1)(s)(vi).4



4
  Although we do not need to reach the issue, it is unlikely that the city could establish that the
public’s interest in nondisclosure outweighed the public’s interest in disclosure of the unredacted
portions of the use-of-force policy. The trial court failed to recognize, much less analyze and
weigh, the public’s compelling interest in understanding when and how police officers are
authorized to use force, and the evidence did not establish that any meaningful risk would be posed
to the safety of the police by disclosure. The trial court premised its conclusion that disclosure of
the policy would or could impact an officer’s ability to protect the public or themselves, and thus



                                                 -8-
                                       IV. CONCLUSION

        The trial court clearly erred by finding that the unredacted policy was exempt from
disclosure under MCL 15.243(1)(s)(vi). We reverse the trial court’s grant of summary disposition
in favor of the city, and we remand for entry of judgment in favor of Hjerstedt. On remand the
trial court shall: (1) order disclosure of the unredacted use-of-force policy; (2) award Hjerstedt
reasonable attorney fees, costs, and disbursements under MCL 15.240(6); and (3) determine
whether Hjerstedt is entitled to punitive damages under MCL 15.240(7).

        Reversed and remanded for further proceeding consistent with this opinion. We do not
retain jurisdiction. Hjerstedt, as the prevailing party, may tax costs. MCR 7.219(A).




                                                            /s/ Sima G. Patel
                                                            /s/ Stephen L. Borrello


Shapiro, J., not participating, having retired from the Court of Appeals effective March 15, 2024.




weighed in favor of nondisclosure, by reasoning that “[t]he portion redacted deals with tactics and
techniques or operational guidelines” and “disclosure of the information would impact the public
and/or officer safety.” The trial court’s foundational reasoning is inconsistent with this Court’s
decision in Hjerstedt I, which remains binding published authority, not to mention the law of the
case here. See Rott v Rott, 508 Mich 274, 286; 972 NW2d 789 (2021) (an appellate court’s
determination of an issue in a case binds lower tribunals on remand and the appellate court in
subsequent appeals). As to whether the policy contained operational instructions, this Court
unequivocally determined that it did not. Hjerstedt I, 345 Mich App at 590. This Court also
determined that, contrary to the arguments made by the city, the city did not present evidence to
support that disclosure of the unredacted policy would endanger the life or safety of law
enforcement officers. Id. at 593-594.




                                                -9-
